       Case 1:12-cv-00758-JAP-ACT Document 14 Filed 10/16/12 Page 1 of 15



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

RIO REAL ESTATE INVESTMENT
OPPORTUNITIES, LLC, a New Mexico
limited liability company,

        Plaintiff,

vs.                                                  Case Number: 1:12-cv-00758-JAP-ACT

TESLA MOTORS, INC., a Delaware
corporation,

        Defendant.

      DEFENDANT TESLA MOTIORS, INC.’S MOTION FOR PARTIAL DISMISSAL

        Plaintiff seeks damages for breach of contract, negligent misrepresentation, fraud and

breach of the covenant of good faith and fair dealing. But the majority of Plaintiff’s complaint

lacks merit and should be dismissed. First, the document on which Plaintiff relies for its breach

of contract claim is not an enforceable contract. As a result, Plaintiff lacks a viable claim for

both breach of contract and breach of the covenant of good faith and fair dealing based on this

agreement. Second, Plaintiff’s meager allegations as to Tesla Motor’s supposed “fraudulent

acts” are deficient on their face and fail to satisfy the stringent pleading requirements demanded

for asserting these claims. Based on Plaintiff’s failure properly to plead its asserted claims for

relief, this Court should dismiss with prejudice Counts I (breach of contract), III (fraud) and IV

(breach of covenant of good faith and fair dealing) of Plaintiff’s complaint.

                               PROCEDURAL BACKGROUND

        Nature of Case

        Plaintiff is a real estate developer in Bernalillo County. On May 24, 2012, Plaintiff filed

suit in New Mexico state court.       In its “Complaint for Damages for Breach of Contract,
      Case 1:12-cv-00758-JAP-ACT Document 14 Filed 10/16/12 Page 2 of 15



Negligent Misrepresentation, Fraud and Breach of Covenant of Good Faith and Fair Dealing,”

Plaintiff alleged that it entered into a Development Agreement with Defendant Tesla Motors in

February 2007. Under the terms of this Agreement, “Plaintiff was to construct a 150,000 square

foot facility [for Tesla’s use in] manufacturing electronic vehicles.” [Doc. 1-1 ¶ 8]. Plaintiff

alleges that it “began taking the actions necessary to complete its obligations under the

Development Agreement.” [Doc. 1-1 ¶ 12]. However, “[n]otwithstanding Plaintiff’s efforts,

Defendant breached the Development Agreement, refused to enter into a lease and otherwise

abandoned the Project.”1 [Doc. 1-1 ¶ 15].

       On July 12, 2012, Tesla removed this case to federal court. [Doc. 1]. Plaintiff did not

oppose removal and did not file a motion to remand to state court.

       Plaintiff’s Allegations of Breach of Contract

       Plaintiff attached a “Development Agreement” with Tesla as Exhibit A to its complaint.

[Doc. 1-1 ¶ 7]. Plaintiff contends that this agreement “is a binding and enforceable contract”.

[Doc. 1-1 ¶ 19]. Plaintiff further maintains that it “undertook the performance of its obligations”

under this agreement, and that by “abandon[ing] the development of the Project,” Tesla

“breached its obligation to enter into a lease agreement . . . and otherwise breached the

Development Agreement.” [Doc. 1-1 ¶ 20].

       Plaintiff’s Allegations of Breach of the Covenant of Good Faith and Fair Dealing

       Plaintiff claims that Tesla “has an implied duty of good faith and fair dealing to Plaintiff

under the Development Agreement.” [Doc. 1-1 ¶ 37]. Because Tesla allegedly “acted in bad

faith by purposely failing to enter into the Lease, failing to complete the Project, and abandoning

the project”, Plaintiff contends that Tesla breached this implied duty. [Doc. 1-1 ¶¶ 38-39].

1
  Plaintiff defines “The Project” as Plaintiff’s “construct[ion] of the 150,000 square foot facility
for the use of manufacturing electronic vehicles”. [Doc. 1-1 ¶ 8].


                                                 2
      Case 1:12-cv-00758-JAP-ACT Document 14 Filed 10/16/12 Page 3 of 15



       Plaintiff’s Allegations of Fraud

       Count III of Plaintiff’s complaint is for fraud. [Doc. 1-1 ¶¶ 31-35]. Plaintiff’s only

substantive allegation is that “[t]he actions of Defendant in intentionally concealing their [sic]

intent to abandon the Project after over a year of perpetual preparation constitutes fraud.” [Doc.

1-1 ¶ 32]. The remainder of the claims in this count relate to Defendant’s alleged state of mind

and the damages Plaintiff supposedly suffered. [Doc. 1-1 ¶¶ 33-35].

                              NOTICE PLEADING STANDARD

       Federal Rule of Civil Procedure 8 provides that a federal court complaint need contain

only a “short and plain” statement of “the claim showing that the pleader is entitled to relief.”

Fed. R. Civ. P. 8(a).    But even under this liberal standard, there must be enough factual

allegations contained in the complaint to provide fair notice of the nature of the claim against the

defendant. Robbins v. Oklahoma, 519 F.3d 1242, 1248 (10th Cir. 2008). A complaint must

contain either direct or inferential allegations respecting all the material elements necessary to

recover on a cause of action. See Bryson v. Gonzales, 534 F.3d 1282, 1286 (10th Cir. 2008).

           STANDARD FOR A MOTION TO DISMISS UNDER RULE 12(b)(6)

       Under Rule 12(b)(6), a court may dismiss a complaint for “failure to state a claim upon

which relief can be granted.” Fed. R. Civ. P. 12(b)(6). The sufficiency of a complaint is a

question of law, and when considering and addressing a Rule 12(b)(6) motion, a court must

accept as true all well-pleaded factual allegations in the complaint, view those allegations in the

light most favorable to the non-moving party, and draw all reasonable inferences in the plaintiff's

favor. See Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007); Moore v.

Guthrie, 438 F.3d 1036, 1039 (10th Cir. 2006).




                                                 3
      Case 1:12-cv-00758-JAP-ACT Document 14 Filed 10/16/12 Page 4 of 15



       A complaint challenged by a Rule 12(b)(6) motion to dismiss does not require detailed

factual allegations, but to satisfy the plaintiff’s burden of showing that it is entitled to relief

“requires more than labels and conclusions, and a formulaic recitation of the elements of a cause

of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 546 (2007). See Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (a plaintiff’s complaint must set forth more than a threadbare

recital “of the elements of a cause of action, supported by mere conclusory statements”).

“Factual allegations must be enough to raise a right to relief above the speculative level”.

Twombly, 550 U.S. at 545 (citation omitted). The plaintiff’s complaint must contain sufficient

facts that, if assumed to be true, state a claim to relief that is plausible on its face. Id. at 570;

Mink v. Knox, 613 F.3d 995, 1000 (10th Cir. 2010). “A claim has facial plausibility when the

pleaded factual content allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Ashcroft, 556 U.S. at 678. “Thus, the mere metaphysical

possibility that some plaintiff could prove some set of facts in support of the pleaded claims is

insufficient; the complaint must give the court reason to believe that this plaintiff has a

reasonable likelihood of mustering factual support for these claims.” Ridge at Red Hawk, L.L.C.

v. Schneider, 493 F.3d 1174, 1177 (10th Cir. 2007). If the allegations in the complaint are so

general that they encompass a wide swath of conduct, much of it innocent, then the plaintiff has

not met the plausibility standard. Robbins, 519 F.3d at 1247.

                  PERTINENT NEW MEXICO LAW GOVERNING THE
                   EXISTENCE OF AN ENFORCEABLE CONTRACT

       A contract is a promise that the law will enforce. Nance v. L.J. Dolloff Associates, Inc.,

2006-NMCA-012, ¶ 19, 138 N.M. 851, 126 P.3d 1215; see 1 E. Allan Farnsworth, Farnsworth

on Contracts § 1.1 (2d ed. 1998). The New Mexico Supreme Court has noted that “[a]lthough a

written contract need not detail every term, essential terms must be expressly provided or



                                                 4
      Case 1:12-cv-00758-JAP-ACT Document 14 Filed 10/16/12 Page 5 of 15



necessarily implied by construction for a court to find the contract unambiguous on its face.”

Randles v Hanson, 2011-NMCA-059, ¶ 32, 150 N.M. 362, 258 P.3d 1154 (quoting McNeill v.

Rice Eng’g & Operating, Inc., 2003-NMCA-078, ¶ 27, 133 N.M. 804, 70 P.3d 794). For this

reason, "[v]agueness of expression, indefiniteness, and uncertainty as to any of the essential

terms of an agreement, have often been held to prevent the creation of an enforceable contract."

Hyder v. Brenton, 93 N.M. 378, 384, 600 P.2d 830, 836 (Walters, J., dissenting in part,

concurring in part) (quoting 1 A. Corbin, Corbin on Contracts § 95 (1963)).

       An offer – meaning an indication of interest to enter into a contract – is an essential

element of a legally enforceable contract. DeArmond v. Halliburton Energy Servs., Inc., 2003-

NMCA-148, ¶ 9, 134 N.M. 630, 81 P.3d 573; see Talbott v. Roswell Hospital Corp., 2005-

NMCA-109, ¶ 15, 138 N.M. 189, 118 P.3d 194 (“An offer is a communication of a willingness

to enter into a contract.”). But not all proposals constitute offers, particularly when the offering

party intends to make a further bargain in the future. Instead, as set forth in the Restatement

(Second) of Contracts § 26:

       A manifestation of willingness to enter into a bargain is not an offer if the person
       to whom it is addressed knows or has reason to know that the person making it
       does not intend to conclude a bargain until he has made a further manifestation of
       intent.

See also State v. Bankert, 117 N.M. 614, 620, 875 P.2d 370, 376 (1994) (“In a commercial

transaction, during preliminary negotiations, there can be no conclusive bargain.”).

                 RELEVANT NEW MEXICO LAW REGARDING THE
             IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING

       “Whether express or not, every contract imposes upon the parties a duty of good faith and

fair dealing in its performance and enforcement.” Salas v. Mountain States Mut. Cas. Co., 2009-

NMSC-005, ¶ 13, 145 N.M. 542, 202 P.3d 801 (internal quotation marks and citation omitted).




                                                 5
      Case 1:12-cv-00758-JAP-ACT Document 14 Filed 10/16/12 Page 6 of 15



“Broadly stated, the covenant requires that neither party do anything which will deprive the other

of the benefits of the agreement.” Watson Truck & Supply Co. v. Males, 111 N.M. 57, 60, 801

P.2d 639, 642 (1990) (internal quotation marks and citation omitted). The Supreme Court of

New Mexico, however, has expressed reluctance to use the covenant of good faith and fair

dealing “under circumstances where . . . it may be argued that from the covenant there is to be

implied in fact a term or condition necessary to effect the purpose of a contract.” Id.

       RELEVANT LAW REGARDING PLEADING ALLEGATIONS OF FRAUD

       As shown above, a plaintiff normally need plead only “a short and plain statement of the

claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a). Fraud claims, however,

must meet more stringent standards. “In alleging fraud or mistake, a party must state with

particularity the circumstances constituting fraud or mistake.” Fed. R. Civ. P. 9(b). See Two Old

Hippies, LLC v. Catch the Bus, LLC, 784 F. Supp. 2d 1200, 1207 (D.N.M. 2011) (“[A] court

should require parties to plead a cause of action with particularity when that cause of action

contains allegations grounded in fraud.”) (citing 2 J. Moore, J. Parness & J. Smith, Moore’s

Federal Practice § 9.03(1)(d) (3d ed. 2008)). “To survive a motion to dismiss, an allegation of

fraud must ‘set forth the time, place, and contents of the false representation, the identity of the

party making the false statements and the consequences thereof.’” Midgley v. Rayrock Mines,

Inc., 374 F. Supp. 2d 1039, 1047 (D.N.M. 2005) (quoting Schwartz v. Celestial Seasonings,

Inc., 124 F.3d 1246, 1252 (10th Cir. 1997)).

       The heightened pleading requirement demanded for allegations of fraud protects a

defendant’s reputation from the harm attendant to accusations of fraud or dishonest conduct. See

United States ex rel. Harrison v. Westinghouse Savannah River Co., 353 F.3d 908, 921 (4th Cir.

2003) (“Rule 9(b) protects defendants from harm to their goodwill and reputation.” (internal




                                                 6
      Case 1:12-cv-00758-JAP-ACT Document 14 Filed 10/16/12 Page 7 of 15



quotation marks omitted)); Guidry v. Banks of LaPlace, 954 F.2d 278, 288 (5th Cir. 1992)

(“[The particularity requirement] stems from the obvious concerns that general, unsubstantiated

charges of fraud can do damage to a defendant’s reputation.”). The specificity requirement also

puts defendants on notice of the allegedly fraudulent conduct so that they can formulate a

defense. See Westinghouse Savannah River Co., 353 F.3d at 921. And the need to set out the

elements of alleged fraud more carefully prevents plaintiffs from tacking on specious fraud

claims to their pleadings in an attempt “to induce advantageous settlements or for other ulterior

purposes.” Banker’s Trust Co. v. Old Republic Ins. Co., 959 F.2d 677, 683 (7th Cir. 1992).

I.     PLAINTIFF FAILED PROPERLY TO PLEAD A CLAIM FOR BREACH OF
       CONTRACT

       For a contract to be enforceable “there must be an objective manifestation of mutual

assent by the parties to the material terms of the contract". Pope v. The Gap, Inc., 1998-NMCA-

103, ¶ 11, 125 N.M. 376, 961 P.2d 1283.             Even a cursory reading of the Development

Agreement on which Plaintiff purports to rely for its breach of contract claim makes clear that

the parties never set forth – let alone agreed to – the essential elements of the deal. Rather than

spell out the critical terms of the Project, the Development Agreement instead merely

“establishes a relationship between Tesla and [Plaintiff].” [Doc. 1-1, Ex. A at 1].

       The Development Agreement explicitly states that the parties never intended that it alone

would govern the course of conduct between them. To the contrary:

       The parties contemplate that successor agreements will be drafted between
       [Plaintiff] and Tesla that reflect the following terms and effect the relationship
       contemplated herein. However, the parties agree that unless and until such
       agreement is signed, this Agreement represents the spirit of the overall agreement
       and a good faith commitment by the parties to perform the obligations described
       herein.

[Doc. 1-1, Ex. A at 1]. At most, the Development Agreement represents only an “agreement to




                                                7
      Case 1:12-cv-00758-JAP-ACT Document 14 Filed 10/16/12 Page 8 of 15



agree” to terms and conditions that were to be negotiated and finalized sometime time in the

indefinite future, and not a binding contract. In that sense, the Development Agreement reflected

only the parties’ preliminary inclinations, and served merely as a “nonbinding expression in

contemplation of a future contract, as opposed to its being a binding contract.” Rennick v.

O.P.T.I.O.N. Care, Inc., 77 F.3d 309, 315 (9th Cir. 1996). See also A/S Apothekernes Labs. v.

I.M.C. Chemical Group, Inc., 873 F.2d 155, 158 (7th Cir. 1989) (“[T]he purpose and function of

a preliminary letter of intent is not to bind the parties to their ultimate contractual objective.

Instead, it is only to provide the initial framework from which the parties might later negotiate a

final agreement if the deal works out.”)

       The vague nature of the matters set forth in the Development Agreement is amplified by

the number of contingencies, additional tasks to be performed by other parties, and unresolved

negotiations that had to be concluded before the Project could move forward. These include the

following:

       ä       “[Plaintiff] will finalize an agreement with SunCal to convey, at no charge to
               Tesla, up to 75 acres of land which abuts the proposed site in Cordero Mesa. The
               conveyance of this land is contingent upon a decision by Tesla to make a
               significant expansion onto the site. . . . The intention of the parties is that various
               public entities and [Plaintiff] will pay for and provide utilities and infrastructure
               to the site at no cost to Tesla. It must be noted, however, that the parties of this
               date have no authority to obligate future local and state governments to any future
               commitments and expense.” [Doc. 1-1, Ex. A at 1-2].

       ä       “[Plaintiff] has agreed to provide a signing bonus to Tesla in the amount of
               $8,700,000. Payment of the signing bonus will be conditional upon Tesla
               meeting certain financial requirements to be agreed upon by the parties and
               described below, and conditional upon Bernalillo County’s successful negotiation
               and implementation of a project participation agreement. . . .” [Doc. 1-1, Ex. A at
               2].

       ä       “As a contribution to the signing bonus described in the foregoing paragraph, the
               State will provide to Bernalillo County, pending appropriation by the New
               Mexico State Legislature, capital outlay totaling $7 million.” [Doc. 1-1, Ex. A at
               2].



                                                 8
      Case 1:12-cv-00758-JAP-ACT Document 14 Filed 10/16/12 Page 9 of 15




       ä         “Bernalillo County will . . . provide a direct grant to [Plaintiff] . . . . This grant
                 shall be subject to the terms and conditions and state and local laws . . . including
                 the passage of [the required] ordinance, development of an economic
                 development plan, and approval by Bernalillo County of an economic
                 development project application that must be submitted to Bernalillo County by
                 Developer.” [Doc. 1-1, Ex. A at 2-3].

       ä         “Bernalillo County and [Plaintiff] will then enter into a project participation
                 agreement that shall set out, at a minimum:
                 1.     the contribution to be made by each party to the participation agreement;
                 2.     the security provided by Bernalillo County and any performance
                        guarantees;
                 3.     a schedule for project development and completion, including measurable
                        goals and time limits for those goals;
                 4.     provisions for performance review and actions to be taken upon a
                        determination that project performance is unsatisfactory.”

                 [Doc. 1-1, Ex. A at 3].

       ä         “The foregoing signing bonus from [Plaintiff] is contingent, and the associated
                 contribution from the State, is contingent upon sufficient funding in the
                 development process by the City of Albuquerque, the County of Bernalillo and
                 state governments. The contribution will be further described in agreements
                 between the applicable parties. . . .” [Doc. 1-1, Ex. A at 3].

       ä         “[Plaintiff] will provide to Tesla a written statement from the City, County or
                 State that the proposed uses by Tesla of the Facility have been approved and are
                 consistent with any applicable development plan, zoning, or any other restrictions
                 on use.” [Doc. 1-1, Ex. A at 3].

Plaintiff nowhere asserts that any of these contingencies were satisfied such that the Project

could proceed.

       Although Plaintiff claims that it “undertook the performance of its obligations under the

Development Agreement,” [Doc. 1-1 ¶ 20], Plaintiff nowhere alleges that any of the conditions

or necessary actions to be completed by any of the other entities, agencies or governments were

undertaken, let alone completed. This omission removes the foundation for Plaintiff’s breach of

contract action. The clear language of the Development Agreement makes it clear that the




                                                   9
      Case 1:12-cv-00758-JAP-ACT Document 14 Filed 10/16/12 Page 10 of 15



parties were far from reaching a final agreement. To the contrary, the parties understood that

further negotiations, documentation and government action remained to be completed. Until

such matters were accomplished, the Project could not proceed. The parties may have shared a

mutual goal to work towards building the contemplated facility, but “not every expression of

intention . . . can properly be called a promise.” 1 A. Corbin, Corbin on Contracts § 1.15 (rev.

ed. 1993).

       The essential terms of the Development Agreement simply are not present, and Plaintiff

cannot hope that discovery and circumstantial evidence will fill in the myriad of missing pieces.

See generally 10 Samuel Williston, A Treatise on the Law of Contracts § 29.8, at 473, 480

(Richard A. Lord, ed., 4th ed. 1999) (a memorandum that does not contain all essential terms

"cannot be eked out by parol evidence"). Plaintiff’s meager allegations to support its claim for

breach of contract are insufficient on their face, and the Court should dismiss with prejudice

Count I (breach of contract) of Plaintiff’s complaint.

II.    WITHOUT A CLAIM FOR BREACH OF CONTRACT, PLAINTIFF HAS NO
       CAUSE OF ACTION FOR BREACH OF IMPLIED COVENANT OF GOOD
       FAITH AND FAIR DEADLING

       Under New Mexico law, a cause of action for breach of the covenant of good faith and

fair dealing sounds in contract. Bourgeous v. Horizon Healthcare Corp., 117 N.M. 434, 439, 872

P.2d 852, 857 (1994). In the absence of an enforceable contract, however – as is the case here –

no such implied covenant exists. Thus, dismissal of Plaintiff’s claim for breach of contract

mandates dismissal of the claim for an implied covenant arising from that non-existent

agreement.

       Tort recovery for breach of the covenant of good faith and fair dealing is permissible, but

only where a special relationship existed, such as between insurer and insured. See id.




                                                10
       Case 1:12-cv-00758-JAP-ACT Document 14 Filed 10/16/12 Page 11 of 15



Conversely, if no “special relationship” exists, then “[t]he claim for breach of good faith and fair

dealing sounds in contract”. Heimann v. Kinder-Morgan CO2 Co., 2006-NMCA-127, ¶ 18, 140

N.M. 552, 144 P.3d 111. In the present case, Plaintiff alleged no facts to show the existence of

the requisite special relationship that would permit it to recover for breach of the covenant of

good faith and fair dealing in anything other than contract. To the contrary, Plaintiff relies solely

on the validity of the Development Agreement to justify its claim for breach of the implied

covenant.      [Doc. 1-1 ¶ 37].      Given the Development Agreement does not constitute an

enforceable agreement, this Court should dismiss with prejudice Count IV (breach of covenant of

good faith and fair dealing) of Plaintiff’s complaint.

III.    COUNT III OF PLAINTIFF’S COMPLAINT FOR FRAUD SHOULD BE
        DISMISSED UNDER RULE 9(b)

        Count III of Plaintiff’s complaint fails to comply with Rule 9(b)’s particularity

requirements. Specifically, the complaint:

             fails to specify the “who, what, when, where and how” of any of the allegations;

             fails to identify Tesla’s specific, post-contract, alleged wrongdoing; and

             fails to identify a single fraudulent act or statement made to Plaintiff.

Plaintiff utterly fails to present a legally cogent set of allegations to support a claim for fraud,

and as a result, the Court should dismiss with prejudice Count III of Plaintiff’s complaint.

         A.      Plaintiff Failed to Specify the Essential Circumstances Surrounding the
                 Alleged Fraudulent Statements

        Even the most generous reading of Plaintiff’s Complaint reveals that Count III

improperly asserts a claim for fraud. Plaintiff never states who said the alleged fraudulent

statements, what those fraudulent statements were, when they were made or where they

supposedly took place. See Two Old Hippies, LLC, 784 F. Supp. 2d at 1208 (Rule 9(b) requires

a plaintiff to allege the “who, what, when, where and how of the alleged fraud.”). Indeed,


                                                    11
     Case 1:12-cv-00758-JAP-ACT Document 14 Filed 10/16/12 Page 12 of 15



Plaintiff never even avers any specific statement or omission alleged to be false. United States

ex rel. Downy v. Corning, Inc., 118 F. Supp. 2d 1160, 1173 (D.N.M. 2000) (at least some

specific examples of the alleged fraud must be provided in complaint).

       Vague and conclusory allegations of fraud like those in paragraph 33 of the complaint –

“[t]he actions of Defendant in intentionally concealing their intent to abandon the Project after

over a year of perpetual preparation constitutes fraud.” – cannot salvage Plaintiff’s claim. See

Solow v. Stone, 994 F. Supp. 173, 182 (S.D.N.Y. 1998) (Rule 9(b)’s heightened pleading

requirement applies to allegations of fraudulent concealment, and plaintiff’s mere assertion that

defendants “fraudulently concealed their actions” did not satisfy standard). To the contrary, such

allegations fail to state even a non-fraud-based claim, and certainly do not meet Rule 9(b)’s more

stringent particularity requirements. See Adams v. Kinder-Morgan, Inc., 340 F.3d 1083, 1099

(10th Cir. 2003) (“Generalized or conclusory allegations of fraud [are] not … sufficient.”).

       Plaintiff’s complaint is further deficient because it fails to identify the specific

representatives of the corporate defendant who purportedly engaged in the alleged fraudulent

conduct. Where (as here) a corporate entity is named as the sole defendant in a fraud claim, the

plaintiff must identify the individual employees who participated in the alleged wrongdoing; if

not, the complaint must be dismissed.        See, e.g., United States ex rel. Lee v. SmithKline

Beecham, Inc., 245 F.3d 1048, 1051-52 (9th Cir. 2001) (False Claim Act claim failed to satisfy

Rule 9(b) where qui tam plaintiff failed to identify employees involved in the fraud); United

States ex rel. Robinson v. Northrop Corp., 149 F.R.D. 142, 145 (N.D. Ill. 1993) (“[T]he identity

and/or role of the individual employee involved in the alleged fraud must be specified in the

complaint. . . .”). Plaintiff’s claims against Tesla must be dismissed for this reason as well.




                                                 12
     Case 1:12-cv-00758-JAP-ACT Document 14 Filed 10/16/12 Page 13 of 15



         B.     Plaintiff Failed to Identify the Alleged Fraudulent Conduct At Issue

         Plaintiff’s allegations do not sufficiently plead what conduct was fraudulent and how the

conduct was fraudulent in a way that distinguishes Tesla’s conduct from the alleged negligent

misrepresentations (alleged in Count II) or breach of contract (as alleged in Count I). As one

noted commentator has stated in the context of “cases concerning fraudulent misrepresentation

and omission of facts,” in order to satisfy Rule 9(b), a plaintiff must plead “the type of facts

omitted, where the omitted facts should have been stated, and the way in which the omitted facts

made the representations misleading.” 2 Moore’s Federal Practice § 9.03[1][b], at 9-18 (3d ed.

2011).

         A plaintiff’s pleading obligations in cases asserting fraud based on a theory of failure to

disclose – as seems to be the case here (see [Doc. 1-1 ¶ 33]) – require a plaintiff to “allege . . .

facts that, if true, would give rise to a duty of disclosure.” Carroll v. Fort James Corp., 470 F.3d

1171, 1174 (5th Cir. 2006). The United States Court of Appeals for the Fifth Circuit justified this

pleading requirement based on the common-law principle that “one who fails to disclose material

information prior to the consummation of a transaction commits fraud only when he is under a

duty to do so.” Id. at 1174 (quoting Chiarella v. United States, 445 U.S. 222, 227-28 (1980)).

The Tenth Circuit has imposed similar requirements in the Rule 9(b) context:

         [T]he sum of plaintiffs’ allegations is a failure by defendants to disclose pertinent
         features of the transaction to plaintiffs. Absent a showing of a “fiduciary or other
         similar relation of trust and confidence” between defendants and plaintiffs, the
         failures to disclose identified in the complaint are not actionable. Plaintiffs do not
         allege any such relationship.

Burke v. Woods, 85 F.3d 640, 1996 WL 223731, at *5 (10th Cir. 1996) (unpublished table

decision) (citations omitted).




                                                  13
     Case 1:12-cv-00758-JAP-ACT Document 14 Filed 10/16/12 Page 14 of 15



       Plaintiff failed to make any allegations suggesting that Tesla had a duty to disclose

information to Plaintiff about its intention to complete the Project. New Mexico courts have

recognized that “where one is under a duty to speak but remains silent and fails to disclose a

material fact, he may be liable for fraud.” R.A. Peck, Inc. v. Liberty Fed. Sav. Bank, 108 N.M.

84, 88, 766 P.2d 928, 932 (1988). Conversely, in the absence of such a duty, a party cannot be

found to have committed fraud. McElhannon v. Ford, 2003-NMCA-091, ¶ 12, 134 N.M. 124, 73

P.3d 827 (“A party can be held liable for nondisclosure only when there is a duty to disclose.”).

In the present case, there are no allegations that, if true, would support a conclusion that Tesla

owed any duty to Plaintiff to disclose certain information about the Project.

       In short, Plaintiff failed to provide sufficient allegations fleshing out the transaction to

indicate why or how Tesla acted fraudulently. Even if taken as true, Plaintiff’s allegations do not

articulate, as Rule 9(b) requires, that Tesla acted fraudulently. For this reason, the Court should

dismiss with prejudice Plaintiff’s fraud claim (Count III).

       Pursuant to D.N.M.LR-Civ. 7.1(a), Defendants’ counsel conferred in good faith with

Plaintiff’s counsel at the Rule 16 Conference and determined that Plaintiff opposes this motion.

       WHEREFORE, Defendant Tesla Motors, Inc. requests that this Court enter an Order

dismissing with prejudice Plaintiff’s Complaint.




                                                14
     Case 1:12-cv-00758-JAP-ACT Document 14 Filed 10/16/12 Page 15 of 15



                                       RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.

                                       By:   “Electronically Filed” /s/ Andrew G. Schultz   .
                                               Andrew G. Schultz
                                               Nicholas Sydow
                                       P.O. Box 1888
                                       Albuquerque, NM 87103
                                       Telephone:     (505) 765-5900
                                       Facsimile:     (505) 768-7395
                                       E-mail:        aschultz@rodey.com
                                                      nsydow@rodey.com

                                       Attorneys for Defendant Tesla Motors, Inc.




                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on October 15, 2012, the foregoing Motion for

Partial Dismissal was electronically filed with the Clerk of Court using the CM/ECF system that

will send notification of such filing to all counsel of record:

       Christopher M. Pacheco
       LeeAnn Werbelow
       Lastrapes, Spangler & Pacheco, P.A.
       P.O. Box 15698
       Rio Rancho, NM 87174

RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.


By     /s/ Andrew G Schultz                              .
       Andrew G. Schultz




                                                  15
